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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 Kristin Worth, Austin Dye, Axel                Court File No. 0:21-CV-01348 (KMM-LIB)
 Anderson, Minnesota Gun Owners
 Caucus, Second Amendment Foundation,
 and Firearms Policy Coalition, Inc.,                        NOTICE OF HEARING

                      Plaintiffs,

        vs.

 John Harrington, in his individual capacity
 and in his official capacity as
 Commissioner      of      the   Minnesota
 Department of Public Safety, et al.,

                      Defendants.


TO:   The Administrator of the Above-Named Court and All Counsel of Record


PLEASE TAKE NOTICE that the Motion for Stay of Injunction filed by Defendant John

Harrington, Commissioner of the Minnesota Department of Public Safety, will be heard

before the Honorable Katherine M. Menendez, Judge of the United States District Court,

at a time and place to be determined by the Court.



                               Signature on following page
               CASE 0:21-cv-01348-KMM-LIB Doc. 86 Filed 03/31/23 Page 2 of 2



Dated: March 31, 2023                       Respectfully submitted,

                                            KEITH ELLISON
                                            Attorney General
                                            State of Minnesota



                                            s/ Amanda Prutzman
                                            AMANDA PRUTZMAN
                                            Assistant Attorney General
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